                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: In re: Oral Phenylephrine Marketing and Sales Practice Litigation
                                                                       _____             Docket No.: 24-3296 ________

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

Name: Adam J. Levitt

Firm: DiCello Levitt LLP

Address: Ten North Dearborn Street, Sixth Floor, Chicago, Illinois 60602

Telephone: (312) 214-7900
                     ___________________________                Fax: (312) 253-1443

E-mail: alevitt@dicellolevitt.com

Appearance for: Plaintiffs- Appellants
                                                         (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                       )
                                                         (name/firm)

G Substitute counsel (replacing other counsel:                         _______                                      )
                                                         (name/firm)

G Additional counsel (co-counsel with: Samuel Isaacharoff and Jonathan Selbin
✔                                                                                                                   )
                                                         (name/firm)

G Amicus (in support of:                                                                                            )
                                                         (party/designation)


                                                   CERTIFICATION
I certify that:

✔
G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on 1/15/2014                                                                                         OR

G I applied for admission on                                                                                        .


Signature of Counsel:

Type or Print Name: Adam J. Levitt
